         Case 8:18-mj-00549 Document 2 Filed 10/24/18 Page 1 of 1 Page ID #:120


                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                       CASE NUMBER:


  UNITED STATES OF AMERICA                                                  8:18−mj−00549

                                                     PLAINTIFF(S)

          v.

  PEN REGISTER

                                                                           NOTICE TO FILER OF DEFICIENCIES IN
                                                                         CRIMINAL DUTY MATTERS E−FILING PILOT
                                                  DEFENDANT(S)                       PROJECT CASE




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

                                            APPLICATION for an Order Pursuant to 18 U.S.C. section
       10/24/2018            1           2703(d)
   Date Filed             Doc. No.        Title of Doc.

  ERROR(S) WITH DOCUMENT

          NOT A PILOT PROJECT MATTER
          The document you filed is not included in the pilot project established by General Order No. 17−02 and must
          therefore be manually filed. Please bring your document to a Clerk's Office Criminal Intake window for filing,
          where a new case will be opened. This case has been administratively closed. Documents filed in this case after the
          issuance of this notice will not be reviewed.

   X      INCORRECT CASE NUMBER ON APPLICATION
          The caption of the Application you filed indicates a case number different than that of the case in which you filed it.
          This case has therefore been administratively closed. Please open a new case electronically and e−file the correct
          document(s) with the new case number. Documents filed in this case after the issuance of this notice will not be
          reviewed.

          INCORRECT DOCUMENT ATTACHED
          You attached a document that does not appear to match the event used to file it or the case in which it was filed.
          This case has therefore been administratively closed. Please open a new case electronically and e−file the correct
          document(s) with the new case number. Documents filed in this case after the issuance of this notice will not be
          reviewed.

          PROPOSED ORDER NOT SUBMITTED WITH APPLICATION
          Please e−mail a copy of the proposed order to the chambers e−mail address of the appropriate duty magistrate judge
          (unless previously directed otherwise, the magistrate judge assigned to document duty the day the application was
          filed).

          OTHER:


                                                                   Clerk, U.S. District Court

  Dated: October 24, 2018                                          By: /s/ Denise Vo
                                                                      Deputy Clerk




− NOTICE TO FILER OF DEFICIENCIES IN CRIMINAL DUTY MATTERS E−FILING PILOT PROJECT CASE −
